UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON AT SEATTLE

In re:
CHAPTER 7

KENT DOUGLAS POWELL and
HEIDI POWELL,

BANKRUPTCY NO. 12-11140

ANY TRANSFER OF THE
Debtors.

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I, Matthew J. Smith, based on my personal knowledge, declare and state as follows:
l. I have a degree in Cybersecurity from University of Maryland University Col

2 I have the following certifications: Certified Information Systems Security

DECLARATION TO CLARIFY IMPACT OF

HEIDIPOWELL.COM DOMAIN NAME

ege.

Professional, Certified Information Systems Auditor, Certified Information Privacy Professiqnal,

and Certified Fraud Examiner.
3, I am providing this Declaration to assist the court in understanding how the

HeidiPowell.com domain name could be used if forcibly transferred from the Debtors.

4. Domain names represent the human side of the human-computer equation of the

internet. They are easy to read and remember for people, unlike the internet addresses (known

as internet protocol or “IP” addresses) by which computers actually communicate.
5. For every domain name, such as "microsoft.com", there is at least one
corresponding IP address. There may be multiple IP addresses behind a domain name,

representing multiple servers, in order to handle larger amounts of traffic. This is how the

internet handles web traffic: when a user enters "Www.microsoft.com" into their browser, the

browser queries a Domain Name Server (DNS) to locate the IP assigned to that domain nam

and route the request to that server.
6. The same goes for email traffic: when a user addresses an email to

"CustomerSupport@microsoft.com", a DNS server will inform the user's mail server to whic

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address to route the email. The domain owner controls which IP addresses, and thus the serve

and computers behind them, that are assigned to a particular domain. This means that any en
addressed to a particular domain will be received by the current domain owner. For example,
email sent to "CustomerSupport@microsoft.com" today would go to that account at the
Microsoft's mail server. If, overnight, Microsoft released the "microsoft.com" domain and
someone else took control, the same Customer Support email address would route an email t4
new domain owner's mail server tomorrow. The owner of that account would receive that em
in their Inbox as normal and be able to open and retrieve any data or message it contained. T
sender would receive no notification that anything had changed.

7. Further, the target email account (in this example, "CustomerSupport") doesn’
need to be recreated by the new owner of the domain, or to even exist, for messages directed
the email address to be received by the new owner of the domain. Unregistered email accoun

may trigger a non-delivery message back to the sender, but the messages can be stored, retri¢

and read by the party with control of the domain. Standard email is unencrypted and would be

visible in plain text to anyone with administrative access to the mail server associated with th
domain.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on July 10, 2017.

   

/s/
Matthey J. Smifh

 

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